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Case 1:04-cr-10013-.]DT Document 83 Filed 05/12/05 Page 1 of 7 Page|g 90 \@/0

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JEREMY NEAL leTLEY

Steven E. Farese Jr. Retained
Defense Attorney

122 Church Street

Ashland, MS 38603

 

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1, 2, 3, 4, 5, 6 and 7 of the indictment on January
21 , 2005. According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Offense Count
Title & section M Ml&ed M§l

21 U.S.C. § 841(a)(1) Possession with intent to Distribute 10/22/2003 1, 4 and 6
and 18 U.S.C. § 2 Cocaine; Aiding and Abetting 10/23/2003

21 U.S.C. § 841(a)(1) Possession with intent to Distribute 10/23/2003 3 and 5
Over Fifty (50) Grams Cocaine
Base

21 U.S.C. § 841(a)(1) Possession with intent to Distribute 10/22/2003 2
Over Five (5) Grams Cocaine Base

18 U.S.C. § 924(c)(1)(2) Possession of a Firearm During and 10/23/2003 7
in Re|ation to a Drug Trafi`lcking
Crime

The defendant is sentenced as provided in the following pages of this judgment The

sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

Count(s) 8 dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Bir'th: 07/14/1979 May 06, 2005
Deft’s U.S. Marsha| No.: 19363-076

Thil document entered on the docket § gm

with nuisme setb) FRC'P °"

§§

Case 1:04-cr-10013-.]DT Document 83 Filed 05/12/05 Page 2 of 7 Page|D 91
Case No: 1:04cr10013 Defendant Name: Jeremy Nea| Whit|ey Page 2 of 6
Defendant’s Mailing Address:

40 P|easant Site Road
Se|mer, TN 38375

A.Qv»M

JA S D. TODD
CH F UN|TED STATES DiSTR|CT JUDGE

May H ,2005

 

 

Case 1:04-cr-10013-.]DT Document 83 Filed 05/12/05 Page 3 of 7 Page|D 92

Case No: 1:04cr10013 Defendant Name: Jeremy Neai Whit|ey Page 3 of 6

|MPR|SONMENT
The defendant is hereby committed to the custody cf the United States Bureau of
Prisons to be imprisoned for a term of 87 months as to each of Counts 1, 2, 3, 4, 5 and
6, to run concurrentiy, and 60 months as to Count 7, to run consecutively with other
Counts for a total of 147 Months.

The Court recommends to the Bureau of Prisons: institution where defendant can
participate in an intensive drug treatment program and as close to home as possib|e.

The defendant is remanded to the custody of the United States Marshal.

RETURN

i have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

Case 1:04-cr-100l3-.]DT Document 83 Filed 05/12/05 Page 4 of 7 PagelD 93

Case No: 1:04cr10013 Defendant Name: Jeremy Neai Whit|ey Page 4 of 6

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 5 years as to each count, concurrentiy.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised reiease, the defendant shall not commit another federa|, state
or local crime and shall not possess a flrearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDiT|ONS OF SUPERV|S|ON

1 . The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation ofncer and shall
submit a truthful and compfete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ocher;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling. training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance. or any paraphernalia related to such
substances. except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

Case 1:04-cr-100l3-.]DT Document 83 Filed 05/12/05 Page 5 of 7 PagelD 94

Case No: 1:04cr10013 Defendant Name: Jeremy Neai Whitiey Page 5 of 6

8. The defendant shall not associate with any persons engaged in criminal activity. and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation ofhcer to visit him or her at any time at home or elsewhere and
shall permit conhscation of any contraband observed in plain view by the probation ocher;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirementl

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised release:

1. The defendant shall participate as directed in a program of testing and treatment for drug
abuse as directed by the United States Probation Ofiice until such time as the defendant is
released from the program by the probation officer.

2. The defendant shall cooperate with the United States Probation Office in the collection of
DNA.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in
accordance with the schedule of payments set forth in the Schedule of Payments. The
defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine
or restitution is paid in full before the fifteenth day after the date ofjudgment, pursuant to
18 U.S.C. § 3612(f). Ail of the payment options in the Schedu|e of Payments may be
subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Totai Assessment Totai Fine Totai Restitution
$700.00

Case 1:04-cr-100l3-.]DT Document 83 Filed 05/12/05 Page 6 of 7 PagelD 95

Case No: 1:04cr10013 Defendant Name: Jeremy Neai Whit|ey Page 6 of 6

The Specia| Assessment shall be due immediate|y.
F|NE
No fine imposed.

REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 83 in
case 1:04-CR-100]3 Was distributed by faX, mail, or direct printing on
May ]2, 2005 to the parties listed.

 

 

Stephen Farese

FARESE FARESE FARESE, PA
122 Church Street

P.O. Box 98

Ashland7 MS 38603

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

